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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 NORTHERN DIVISION
                                      ASHLAND

 UNITED STATES OF AMERICA,                        )
                                                  )
       Plaintiff,                                 )             No. 0:18-CR-5-REW
                                                  )
 v.                                               )
                                                  )                    ORDER
 ADRIAN MITAN,                                    )
                                                  )
       Defendant.                                 )
                                                  )

                                        *** *** *** ***

       After conducting Rule 11 proceedings, see DE 82 (Minute Entry), Judge Stinnett

recommended that the undersigned accept Defendant Mitan’s guilty plea and adjudge him guilty

of Count 1 of the Indictment in this matter (DE 1), Count 1 of the Superseding Indictment in Case

No. 5:18-cr-81-REW, at ECF No. 249, and Count 1 of the recently transferred (per Criminal Rule

20 and the parties’ agreement, see DE 84 at ¶ 4) Western District of North Carolina Indictment in

Case No. 5:20-cr-4-REW, at ECF No. 1-1. See DE 85 (Recommendation); see also DE 84 (Plea

Agreement). Judge Stinnett expressly informed Defendant of his right to object to the

recommendation and to secure de novo review from the undersigned. See DE 85 at 3. The

established, 3-day objection deadline has passed, and no party has objected.

       The Court is not required to “review . . . a magistrate’s factual or legal conclusions, under

a de novo or any other standard, when neither party objects to those findings.” Thomas v. Arn, 106

S. Ct. 466, 472 (1985); see also United States v. Walters, 638 F.2d 947, 949–50 (6th Cir. 1981)

(holding that a failure to file objections to a magistrate judge’s recommendation waives the right

to appellate review); Fed. R. Crim. P. 59(b)(2)-(3) (limiting de novo review duty to “any objection”
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filed); 28 U.S.C. § 636(b)(1) (limiting de novo review duty to “those portions” of the

recommendation “to which objection is made”).

       The Court thus, with no objection from any party and on full review of the record,

ORDERS as follows:

       1. The Court ADOPTS DE 85 (as well as the identical versions filed in the related

          matters), ACCEPTS Mitan’s guilty plea, and ADJUDGES him guilty of Count 1 of

          the Indictment in this matter (DE 1), Count 1 of the Superseding Indictment in Case

          No. 5:18-cr-81-REW, at ECF No. 249, and Count 1 of the transferred Western District

          of North Carolina Indictment in Case No. 5:20-cr-4-REW, at ECF No. 1-1.;

       2. The forfeiture allegations of the relevant Indictments in this matter and 5:18-cr-81-

          REW name Defendant Mitan (and the 5:20-cr-4-REW Indictment contains a general

          notice of forfeiture). However, the only Indictment that alleges specifically forfeitable

          property, 5:18-cr-81-REW, at ECF No. 249, does not identify any property in which

          Mitan has a readily apparent interest. Further, and though the document lists forfeiture

          as a potential penalty, see DE 84 at ¶ 3, the plea agreement does not include an accord

          as to proper forfeiture scope (if any). Thus, the Government SHALL, within 14 days,

          file (in this matter) a status report regarding forfeiture (as to Mitan only, in all Mitan-

          related matters);

       3. The Court GENERALLY CONTINUES the jury trial in this matter (the schedule in

          5:18-cr-81, as to Mitan’s co-Defendants remains intact);

       4. The Court DENIES DE 76 as moot;
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       5. The Court DIRECTS the Clerk to file a copy of this Order in 5:18-cr-81 and 5:20-cr-

          4 to reflect the Court’s adoption of Judge Stinnett’s identical recommendations in those

          matters; and

       6. The Court will issue a separate sentencing order.1

       This the 17th day of January, 2020.




1
 At the hearing, Judge Stinnett remanded Mitan to custody. See DE 82. The Court, thus, sees no
need to further address detention, at this time.
